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                 Exhibit G
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                                     UNITED STATES OF AMERICA
                                    FEDERAL TRADE COMMISSION
                                 OFFICE OF ADMINISTRATIVE LAW JUDGES



     __________________________________________
                                               )
     In the Matter of                          )
                                               )
     The Kroger Company,                       )
                                               )                       Docket No. 9428
             and                               )
                                               )
     Albertsons Companies, Inc.,               )
                                               )
             Respondents.                      )
     __________________________________________)


                                           SCHEDULING ORDER


    April 24, 2024          -        Complaint Counsel provides preliminary witness list (not including
                                     experts) with a brief summary of the proposed testimony.

    May 1, 2024             -        Respondents provide preliminary witness lists (not including
                                     experts) with a brief summary of the proposed testimony.

    May 3, 2024             -        Complaint Counsel provides expert witness list.

    May 10, 2024            -        Respondents provide expert witness list.

    May 14, 2024            -        Deadline for issuing document requests, interrogatories, and
                                     subpoenas, except for discovery for purposes of authenticity and
                                     admissibility of exhibits.

    May 31, 2024            -        Deadline for issuing requests for admissions, except for requests
                                     for admissions for purposes of authenticity of documents.

    June 11, 2024           -        Close of discovery, other than discovery permitted under Rule
                                     3.24(a)(4), depositions of experts, and discovery for purposes of
                                     authenticity and admissibility of exhibits.

    June 18, 2024           -        Deadline for Complaint Counsel to provide expert witness reports.

    June 26, 2024           -        Complaint Counsel provides final proposed witness and exhibit
                                     lists, including depositions, copies of all exhibits (except for
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                                       demonstrative, illustrative or summary exhibits and expert related
                                       exhibits), Complaint Counsel’s basis of admissibility for each
                                       proposed exhibit, and a brief summary of the testimony of each
                                       witness. Complaint Counsel’s final proposed witness list shall
                                       include only those individuals who (a) appeared on either side’s
                                       preliminary witness list or (b) have been deposed in connection
                                       with this Part 3 proceeding or the parallel federal court proceeding
                                       or (c) submitted affidavits or declarations in connection with any
                                       of the proceedings listed in (b). Complaint Counsel’s final
                                       proposed witness list shall include no more than 25 fact witnesses.

                                       Complaint Counsel serves courtesy copies on ALJ of final
                                       proposed witness and exhibit lists, the basis of admissibility for
                                       each proposed exhibit, and a brief summary of the testimony of
                                       each witness, including its expert witnesses.

    July 1, 2024              -        Deadline for Respondents to provide expert witness reports (by
                                       4 p.m. Eastern Time). Respondents’ expert reports shall include
                                       (without limitation) rebuttal, if any, to Complaint Counsel’s expert
                                       witness report(s).

    July 3, 2024              -        Respondents provide final proposed witness and exhibit lists,
                                       including depositions, copies of all exhibits (except for
                                       demonstrative, illustrative or summary exhibits and expert related
                                       exhibits), the basis of admissibility for each proposed exhibit, and
                                       a brief summary of the testimony of each witness. Respondents’
                                       final proposed witness list shall include only those individuals who
                                       (a) appeared on either side’s preliminary witness list, (b) have been
                                       deposed in connection with this Part 3 proceeding or the parallel
                                       federal court proceeding or (c) submitted affidavits or declarations
                                       in connection with any of the proceedings listed in (b).
                                       Respondents’ final proposed witness list shall include no more
                                       than 25 fact witnesses.

                                       Respondents serve courtesy copies on ALJ of final proposed
                                       witness and exhibit lists, the basis of admissibility for each
                                       proposed exhibit, and a brief summary of the testimony of each
                                       witness, including expert witnesses.

    July 5, 2024              -        Parties that intend to offer confidential materials of an opposing
                                       party or non-party as evidence at the hearing must provide notice
                                       to the opposing party or non-party, pursuant to 16 C.F.R.
                                       § 3.45(b). 10F




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     Appendix A to Commission Rule 3.31, the Standard Protective Order, states that if a party or third party wishes in
    camera treatment for a document or transcript that a party intends to introduce into evidence, that party or third


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    July 12, 2024               -        Complaint Counsel to identify rebuttal expert(s) and provide
                                         rebuttal expert report(s). Any such reports are to be limited to
                                         rebuttal of matters set forth in Respondents’ expert reports. If
                                         material outside the scope of fair rebuttal is presented,

                                         Respondents will have the right to seek appropriate relief (such as
                                         striking Complaint Counsel’s rebuttal expert reports or seeking
                                         leave to submit surrebuttal expert reports on behalf of
                                         Respondents).

    July 16, 2024               -        Deadline for filing motions in limine to preclude admission of
                                         evidence. See Additional Provision 16.

    July 16, 2024               -        Deadline for filing motions for in camera treatment of proposed
                                         trial exhibits. See Additional Provision 15.

    July 18, 2024               -        Deadline for depositions of experts (including rebuttal experts) and
                                         exchange of expert related exhibits.

    July 18, 2024               -        Exchange and serve courtesy copy on ALJ objections to final
                                         proposed witness lists and exhibit lists. The parties are directed to
                                         review the Commission’s Rules on admissibility of evidence
                                         before filing objections to exhibits and raise only objections that
                                         are necessary and valid.

    July 19, 2024               -        Deadline for filing responses to motions in limine to preclude
                                         admission of evidence.

    July 19, 2024               -        Deadline for filing responses to motions for in camera treatment of
                                         proposed trial exhibits.

    July 22, 2024               -        Complaint Counsel files pretrial brief supported by legal authority.

    July 26, 2024               -        Exchange proposed stipulations of law, facts, and authenticity.

    July 29, 2024               -        Respondents file pretrial brief supported by legal authority.

    July 30, 2024               -        Final prehearing conference to begin at 1:00 p.m. Eastern Time.


    party shall file an appropriate motion with the Administrative Law Judge within 5 days after it receives notice of a
    party’s intent to introduce such material. Commission Rule 3.45(b) states that parties who seek to use material
    obtained from a third party subject to confidentiality restrictions must demonstrate that the third party has been
    given at least 10 days’ notice of the proposed use of such material. To resolve this apparent conflict, the Scheduling
    Order requires that the parties provide 10 days’ notice to the opposing party or third parties to allow for the filing of
    motions for in camera treatment.


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                                     The parties shall meet and confer prior to the prehearing
                                     conference regarding trial logistics and proposed stipulations of
                                     law, facts, and authenticity of exhibits. To the extent the parties
                                     have agreed to stipulate to any issues of law, facts, and/or
                                     authenticity of exhibits, the parties shall prepare a list of such
                                     stipulations and submit a copy of the stipulations to the ALJ one
                                     business day prior to the conference. At the conference, the parties’
                                     list of stipulations shall be marked as “JX1” and signed by each
                                     party, and the list shall be offered into evidence as a joint exhibit.
                                     No signature by the ALJ is required. Any subsequent stipulations
                                     may be offered as agreed by the parties.

                                     Counsel may present any objections to the final proposed witness
                                     lists and exhibits. All trial exhibits will be admitted or excluded to
                                     the extent practicable. To the extent the parties agree to the
                                     admission of each other’s exhibits, the parties shall prepare a list
                                     identifying each exhibit to which admissibility is agreed, marked
                                     as “JX2” and signed by each party, which list shall be offered into
                                     evidence as a joint exhibit. No signature by the ALJ is required.

    July 31, 2024           -        Commencement of Hearing, to begin at 10:00 a.m. Eastern Time.


                                        ADDITIONAL PROVISIONS

            1. For all papers that are required to be filed with the Office of the Secretary, the
    parties shall serve a courtesy copy on the Administrative Law Judge by electronic mail to the
    following email address: oalj@ftc.gov. The courtesy copy should be transmitted at or shortly
    after the time of any electronic filing with the Office of the Secretary. Courtesy copies must be
    transmitted to Office of the Administrative Law Judge directly, and the FTC E-filing system
    shall not be used for this purpose. The oalj@ftc.gov email account is to be used only for courtesy
    copies of pleadings filed with the Office of the Secretary and for documents specifically
    requested of the parties by the Office of Administrative Law Judges. Certificates of service for
    any pleading shall not include the OALJ email address, or the email address of any OALJ
    personnel, including the Chief ALJ, but rather shall designate only 600 Pennsylvania Ave., NW,
    Rm. H-110 as the place of service. The subject line of all electronic submissions to
    oalj@ftc.gov shall set forth the docket number, case name, and title of the submission. The
    parties are not required to serve a courtesy copy to the OALJ in hard copy, except upon request.
    Discovery requests and discovery responses shall not be submitted to the Office of
    Administrative Law Judges.

            2. The parties shall serve each other by electronic mail and shall include “Docket 9428”
    in the re: line and all attached documents in .pdf format. In the event that service through
    electronic mail is not possible, the parties may serve each other through any method authorized
    under the Commission’s Rules of Practice.



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          3. Each pleading that cites to unpublished opinions or opinions not available on
    LEXIS or WESTLAW shall include copies of such opinions as exhibits.

            4. Each motion (other than a motion to dismiss, motion for summary decision, or
    a motion for in camera treatment) shall be accompanied by a separate signed statement
    representing that counsel for the moving party has conferred with opposing counsel in an effort
    in good faith to resolve by agreement the issues raised by the motion and has been unable to
    reach such an agreement. In addition, pursuant to Rule 3.22(g), for each motion to quash filed
    pursuant to § 3.34(c), each motion to compel or determine sufficiency pursuant to § 3.38(a), or
    each motion for sanctions pursuant to § 3.38(b), the required signed statement must also “recite
    the date, time, and place of each . . . conference between counsel, and the names of all parties
    participating in each such conference.” Motions that fail to include such separate statement may
    be denied on that ground.

             5. By signing and presenting to a pleading, written motion, or other filing, an attorney or
    pro se litigant certifies that either: (1) no portion of the filing was drafted by generative artificial
    intelligence (“AI”) (such as ChatGPT, Microsoft Copilot, Harvey.AI, or Google Gemini), or (2)
    any language in the filing that was drafted by generative AI was checked for accuracy by human
    attorneys or paralegals using printed legal reporters and/or online legal databases. Any filing that
    fails to comply with these mandatory certification requirements may be stricken on that ground.

            6. Rule 3.22(c) states:

            All written motions shall state the particular order, ruling, or action desired and
            the grounds therefor. Memoranda in support of, or in opposition to, any
            dispositive motion shall not exceed 10,000 words. Memoranda in support of, or in
            opposition to, any other motion shall not exceed 2,500 words. Any reply in
            support of a dispositive motion shall not exceed 5,000 words and any reply in
            support of any other motion authorized by the Administrative Law Judge or the
            Commission shall not exceed 1,250 words.

    If a party chooses to submit a motion without a separate memorandum, the word count limits of
    3.22(c) apply to the motion. If a party chooses to submit a motion with a separate memorandum,
    absent prior approval of the ALJ, the motion shall be limited to 750 words, and the word count
    limits of 3.22(c) apply to the memorandum in support of the motion. This provision applies to all
    motions filed with the Administrative Law Judge, including those filed under Rule 3.38.

           7. If papers filed with the Office of the Secretary contain in camera or confidential
    material, the filing party shall mark any such material in the complete version of their submission
    with {bold font and braces}. 16 C.F.R. § 3.45(e). Parties shall be aware of the rules for filings
    containing such information, including 16 C.F.R. § 4.2.

           8. Each party is limited to serving on each opposing party: 50 requests for production of
    documents, including all discrete subparts; 25 interrogatories, including all discrete subparts; and
    10 requests for admissions, including all discrete subparts, except that there shall be no limit on
    the number of requests for admission for authentication and admissibility of exhibits. There is no

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    limit to the number of sets of discovery requests the parties may issue, so long as the total
    number of each type of discovery request, including all subparts, does not exceed these limits.

            9. If any federal court proceeding related to this administrative proceeding is initiated,
    any discovery obtained in this proceeding may be used in the related federal court litigation, and
    vice versa. Any discovery taken in this administrative proceeding shall be non-duplicative of the
    discovery taken in the federal court preliminary injunction proceeding. No individual or entity
    deposed in one action may be re-deposed in the other, except that expert witnesses may be re-
    deposed in this proceeding to the extent their reports in this proceeding include opinions not set
    forth in their reports from the federal court proceeding. The parties preserve all rights to object to
    the admissibility of evidence.

           10. Compliance with the scheduled end of discovery requires that the parties serve
    subpoenas and discovery requests sufficiently in advance of the discovery cut-off and that all
    responses and objections will be due on or before that date, unless otherwise noted. Any motion
    to compel responses to discovery requests, or to seek certification of a request for court
    enforcement of a non-party subpoena, shall be filed within 30 days of service of the responses
    and/or objections to the discovery requests or within 20 days after the close of discovery,
    whichever first occurs; except that, where the parties have been engaging in negotiations over a
    discovery dispute, including negotiations with any non-party with regard to a subpoena, the
    deadline for the motion to compel shall be within 5 days of reaching an impasse.

             11. One Rule 3.33(c) deposition notice of each Respondent shall be permitted.
    Depositions of all individuals designated as representatives for purposes of one 3.33(c)
    deposition notice shall count as one deposition for purposes of this paragraph even if the noticed
    entity designates multiple individuals to provide testimony. The parties shall consult with each
    other prior to confirming any deposition to coordinate the time and place of the deposition. The
    parties shall use reasonable efforts to reduce the burden on witnesses noticed for depositions and
    to accommodate the witness’s schedule. The deposition of any person may be recorded by video,
    provided that the deposing party notifies the deponent and all parties of its intention to record the
    deposition by video at least five days in advance of the deposition. Except as otherwise provided
    in this paragraph, no deposition, whether recorded by video or otherwise, may exceed a single,
    seven-hour day, unless otherwise agreed to by the parties or ordered by the Administrative Law
    Judge. The parties intend to negotiate and submit to the ALJ a remote deposition protocol.

            12. The parties shall serve upon one another, at the time of issuance, copies of all
    subpoenas duces tecum and subpoenas ad testificandum. For subpoenas ad testificandum, the
    party seeking the deposition shall consult with the other parties before the time and place of the
    deposition is scheduled. The parties need not separately notice the deposition of a non-party
    noticed by an opposing party. Unless the parties otherwise agree, at the request of any party, the
    time and allocation for a non-party deposition shall be divided evenly between each side. If both
    Complaint Counsel and Respondents notice any non-party fact deposition (including any 3.33(c)
    deposition), the seven hours of record time will be divided equally between the sides. Unused
    time in any side’s allocation of deposition time shall not transfer to the other side.




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            13. Every documentary subpoena to a non-party shall include a cover letter requesting
    that (1) the non-party Bates-stamp each document with a production number and any applicable
    confidentiality designation prior to producing it and (2) the non-party provide to the other parties
    copies of all productions at the same time as they are produced to the requesting party. If a non-
    party fails to provide copies of productions to both sides, the requesting party shall produce all
    materials received pursuant to the non-party subpoena, as well as all materials received
    voluntarily in lieu of a subpoena, including declarations or affidavits obtained from a non-party,
    within three business days of receiving the documents. No deposition of a non-party shall be
    scheduled between the time a non-party provides documents in response to a subpoena duces
    tecum to a party, and three business days after the party provides those documents to the other
    parties, unless a shorter time is required by unforeseen logistical issues in scheduling the
    deposition, or a non-party produces those documents at the time of the deposition, as agreed to
    by all parties involved.

            14. A party that obtains a declaration, note of support, or affidavit from a party or non-
    party witness will promptly produce it to the other side, and in any event not later than (1) four
    business days before the party or non-party is scheduled to be deposed, or (2) 14 calendar days
    before the end of fact discovery, whichever is earlier, absent a showing of good cause.
    Declarations, notes of support, or affidavits produced after this date shall not be admitted into
    evidence or used in the administrative proceeding except upon a showing of good cause. The
    parties reserve all rights and objections with respect to the use and/or admissibility of any
    declaration, note of support, or affidavit; and no declaration, note of support, or affidavit will be
    admitted unless a fair opportunity was available to depose the declarant.

           15. If a party intends to offer confidential materials of an opposing party or non-party as
    evidence at the hearing, in providing notice to such non-party, the parties are required to inform
    each non-party of the strict standards for motions for in camera treatment for evidence to be
    introduced at trial set forth in 16 C.F.R. § 3.45; in In re Otto Bock Healthcare North American,
    2018 WL 3491602 at *1 (July 2, 2018); and In re 1-800 Contacts, Inc., 2017 FTC LEXIS 55
    (Apr. 4, 2017). Motions must be supported by a declaration or affidavit by a person qualified to
    explain the confidential nature of the documents. In re 1-800 Contacts, Inc., 2017 FTC LEXIS
    55 (Apr.4, 2017); In re North Texas Specialty Physicians, 2004 FTC LEXIS 66 (Apr. 23, 2004).
    Each party or non-party that files a motion for in camera treatment shall provide one copy of the
    documents for which in camera treatment is sought to the Administrative Law Judge.

            16. Motions in limine are strongly discouraged. Motion in limine refers “to any motion,
    whether made before or during trial, to exclude anticipated prejudicial evidence before the
    evidence is actually offered.” In re Daniel Chapter One, 2009 FTC LEXIS 85, *18-20 (Apr. 20,
    2009) (citing Luce v. United States, 469 U.S. 38, 40 n.2 (1984)). Evidence should be excluded in
    advance of trial on a motion in limine only when the evidence is clearly inadmissible on all
    potential grounds. Id. (citing Hawthorne Partners v. AT&T Technologies, Inc., 831 F. Supp.
    1398, 1400 (N.D. Ill. 1993); SEC v. U.S. Environmental, Inc., 2002 U.S. Dist. LEXIS 19701, at
    *5-6 (S.D.N.Y. Oct. 16, 2002)). Moreover, the risk of prejudice from giving undue weight to
    marginally relevant evidence is minimal in a bench trial such as this where the judge is capable
    of assigning appropriate weight to evidence.



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             17. The final witness lists shall represent counsel’s good faith designation of all potential
    witnesses who counsel reasonably expect may be called in their case-in-chief. A general
    designation that a party reserves the right to call anyone on the opposing party’s witness list is
    not sufficient. Parties shall notify the opposing party promptly of changes in witness lists to
    facilitate completion of discovery within the dates of the scheduling order. The final proposed
    witness lists may not include additional witnesses not listed in the preliminary witness lists
    previously exchanged or who have not been deposed or submitted affidavits/declarations, unless
    by consent of all parties, or, if the parties do not consent, by an order of the Administrative Law
    Judge upon a showing of good cause.

             18. If any party wishes to offer a rebuttal witness other than a rebuttal expert, the party
    shall file a request in writing in the form of a motion to request a rebuttal witness. That motion
    shall be filed as soon as possible after the testimony sought to be rebutted is known and shall
    include: (a) the name of any witness being proposed (b) a detailed description of the rebuttal
    evidence being offered; (c) citations to the record, by page and line number, to the evidence that
    the party intends to rebut; and (d) shall demonstrate that the witness the party seeks to call has
    previously been designated on its witness list or adequately explain why the requested witness
    was not designated on its witness list.

           19. Witnesses shall not testify to a matter unless evidence is introduced sufficient to
    support a finding that the witness has personal knowledge of the matter. F.R.E. 602.

          20. Witnesses not properly designated as expert witnesses shall not provide opinions
    beyond what is allowed in F.R.E. 701.

            21. The parties are required to comply with Rule 3.31A and with the following:

           (a) At the time an expert is first listed as a witness by a party, that party shall
    provide to the other parties:

               (i) materials fully describing or identifying the background and qualifications of the
    expert, all publications authored by the expert within the preceding ten years, and all prior cases
    in which the expert has testified or has been deposed within the preceding four years; and

               (ii) transcripts of such testimony in the possession, custody, or control of the producing
    party or the expert, except that transcript sections that are under seal in a separate proceeding
    need not be produced.

           (b) At the time an expert report is produced, the producing party shall provide to the
    other parties all documents and other written materials relied upon by the expert in formulating
    an opinion in this case, subject to the provisions of 21(g), except that documents and materials
    already produced in the case need only be listed by Bates number.

           (c) It shall be the responsibility of a party designating an expert witness to ensure that the
    expert witness is reasonably available for deposition in keeping with this Scheduling Order.
    Unless otherwise agreed to by the parties or ordered by the Administrative Law Judge, expert

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    witnesses shall be deposed only once and each expert deposition shall be limited to one day for
    seven hours.

            (d) Each expert report shall include a complete statement of all opinions to be expressed
    and the basis and reasons therefor; the data or other information considered by the expert in
    forming the opinions; any exhibits to be used as a summary of or support for the opinions; the
    qualifications of the expert; and the compensation to be paid for the study and testimony.
            (e) A party may not discover facts known or opinions held by an expert who has been
    retained or specially employed by another party in anticipation of this litigation or preparation
    for hearing and who is not designated by a party as a testifying witness.
            (f) At the time of service of the expert reports, a party shall provide opposing counsel:

                (i) a list of all commercially-available computer programs used by the expert in
        the preparation of the report;
                (ii) a copy of all data sets used by the expert, in native file format and processed data
        file format; and
                (iii) all customized computer programs used by the expert in the preparation of the
        report or necessary to replicate the findings on which the expert report is based.

            (g) Experts’ disclosures and reports shall comply in all respects with Rule 3.31A, except
    that neither side must preserve or disclose:

                (i) any form of communication or work product shared between any of the parties’
    counsel and their expert(s), or between any of the experts themselves;
                (ii) any form of communication or work product shared between an expert(s)
    and persons assisting the expert(s);
                (iii) expert’s notes, unless they constitute the only record of a fact or an assumption
    relied upon by the expert in formulating an opinion in this case;
                (iv) drafts of expert reports, analyses, or other work product; or
                (v) data formulations, data runs, data analyses, or any database-related operations not
    relied upon by the expert in the opinions contained in his or her final report.

            22. If the expert reports prepared for either party contain confidential information
    that has been granted in camera treatment, the party shall prepare two versions of its expert
    report(s) in accordance with Additional Provision 7 of this Scheduling Order and 16 C.F.R.
    § 3.45(e).

            23. It is possible that the evidentiary hearing in this matter will be conducted remotely by
        video conference.

            (a) The parties are encouraged, in advance of the hearing, to take expert depositions for
    the purpose of perpetuating trial testimony (i.e., a trial deposition) and to submit such trial
    testimony as an exhibit in lieu of presenting the expert’s testimony via live video at trial. This
    trial deposition may be conducted in addition to any deposition of an expert witness for purposes
    of discovery (discovery deposition). Although the parties are encouraged to submit trial


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    depositions in lieu of live video testimony at trial for all expert witnesses in the case, you may
    choose to do trial depositions for all or fewer than all experts.

            (b) The parties may, in advance of the hearing, take trial depositions of fact witnesses
    who had been deposed before the close of discovery and to submit such trial deposition
    testimony (as video and/or transcript of trial deposition testimony) as an exhibit in lieu of
    presenting the fact witness’ testimony via live video at trial. Although the parties may submit
    trial depositions in lieu of live video testimony at trial for all fact witnesses in the case, you may
    choose to do trial depositions for fewer than all fact witnesses.

            24. An expert witness’s testimony is limited to opinions contained in the expert report
    that has been previously and properly provided to the opposing party. In addition, no opinion
    will be considered, even if included in an expert report, if the underlying and supporting
    documents and information have not been properly provided to the opposing party. Unless an
    expert witness is qualified as a fact witness, an expert witness is only allowed to provide opinion
    testimony; expert testimony is not considered for the purpose of establishing the underlying facts
    of the case.

            25. The final exhibit lists shall represent counsels’ good faith designation of all trial
    exhibits other than demonstrative, illustrative, or summary exhibits. Additional exhibits may be
    added after the submission of the final lists only by consent of all parties, or, if the parties do not
    consent, by an order of the Administrative Law Judge upon a showing of good cause.

            26. Properly admitted deposition testimony and properly admitted investigational hearing
    transcripts are part of the record and need not be read in open court. Videotape deposition
    excerpts that have been admitted in evidence may be presented in open court only upon prior
    approval by the Administrative Law Judge.

            27. The parties shall provide to one another, to the Administrative Law Judge, and the
    court reporter, no later than 48 hours in advance, not including weekends and holidays, a list of
    all witnesses to be called on each day of the hearing, subject to possible delays or unforeseen
    circumstances.

           28. The parties shall provide one another with copies of any demonstrative, illustrative or
    summary exhibits (other than those prepared for cross-examination) 24 hours before they are
    used with a witness.

             29. Complaint Counsel’s exhibits shall bear the designation PX and Respondents’
    exhibits shall bear the designation RX or some other appropriate designation. Complaint
    Counsel’s demonstrative exhibits shall bear the designation PXD and Respondents’
    demonstrative exhibits shall bear the designation RXD or some other appropriate designation. If
    demonstrative exhibits are used with a witness, the exhibit will be marked and referred to for
    identification only. Any demonstrative exhibits referred to by any witness may be included in the
    trial record, but they are not part of the evidentiary record and may not be cited to support any
    disputed fact. Both sides shall number the first page of each exhibit with a single series of



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    consecutive numbers. When an exhibit consists of more than one piece of paper, each page of the
    exhibit must bear a consecutive control number or some other consecutive page number.

            30. At the final prehearing conference, counsel will be required to introduce all exhibits
    they intend to introduce at trial. The parties shall confer and shall eliminate duplicative exhibits
    in advance of the final prehearing conference and, if necessary, during trial. For example, if
    PX100 and RX200 are different copies of the same document, only one of those documents shall
    be offered into evidence. The parties shall agree in advance as to which exhibit number they
    intend to use. Counsel shall contact the court reporter regarding submission of exhibits.

             31. Pretrial briefs shall not exceed 75 pages per side, post-trial initial briefs shall not
    exceed 75 pages per side, post-trial reply briefs shall not exceed 50 pages per side, and post-trial
    initial findings of fact and conclusions of law shall not exceed 125 pages per side, unless
    otherwise agreed to by the parties or ordered by the Administrative Law Judge.




    ORDERED:
                                                      D. Michael Chappell
                                                      Chief Administrative Law Judge



    Date: March 20, 2024




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